        Case 1:22-cv-01386-GBW Document 16 Filed 04/05/23 Page 1 of 3 PageID #: 91


AO 120 (Rev. 08/10)

                              Mail Stop 8                                                       REPORT ON THE
TO:
          Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                    TRADEMARK

                 1n Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 11 16 you are hereby advised that a court action has been
         filed in the U.S. District Court                     for the District of Delaware                              on the following
      0 Trademarks or          Gil Patents.   (   D the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                          U.S. DISTRICT COURT
    ~~-1,rt--Gsw                        10/21/2022                                      for the District of Delaware
PLAINTIFF                                                                     DEFENDANT
 ACADIA PHARMACEUTICALS INC .                                                   ZYDUS PHARMACEUTICALS (USA) INC . and ZYD US
                                                                                LIFESCIENCES LIMITED


        PATENT OR                       DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
 I 11 ,452 ,721                               9/27/2022                 ACADIA PHARMACEUTICALS INC .

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                                 In the above-entitled case, the following patent(s)/ trademark(s) have been included:
DA TE INCLUDED                    INCLUDED BY
                                                    0 Amendment                  0 Answer           D Cross Bill         D Other Pleading
        PATENT OR                       DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                     OR TRADEMARK
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                      1n the above-entitled case, the fo llowing decision has been rendered or judgement issued:
DECISION/JUDGEMENT




CLERK                                                         (BY) DEPUTY CLERK                                           DATE

    'JoL, A- Ct.y,.:,_o                                                                                                     't -S"- ~o13
Copy I -Upon initiation of action, mail this copy to Director Copy 3-U pon termin ation of action, mail this copy to Director
Copy 2-Upon filing document adding patent(s), mail this copy to Director Copy ~      ase fil e copy
Case 1:22-cv-01386-GBW Document 16 Filed 04/05/23 Page 2 of 3 PageID #: 92
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

 ACADIA PHARMACEUTICALS INC.,                      )
                                                   )
                                Plaintiff,         )
                                                   )
                           V.                      )   C.A. No. 22-1386-GBW
                                                   )
 ZYDUS PHARMACEUTICALS (USA) Inc.,                 )
 et al.,                                           )
                                                   )
                                                   )
                                Defendants.        )


               STIPULATION AND [PROPOSED] ORDER OF DISMISSAL
              WITHOUT PREJUDICE PURSUANT TO FED. R. CIV. P. 41{a)

       Pursuant to Rule 41(a)(l)(A)(ii) of the Federal Rules of Civil Procedure, ACADIA

Pharmaceuticals Inc., Zydus Pharmaceuticals (USA) Inc. and Zydus Lifesciences Limited hereby

stipulate to the dismissal of all claims and counterclaims between the parties in this Action without

prejudice.
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 Case 1:22-cv-01386-GBW Document 15 Filed 04/04/23 Page 2 of 2 PagelD #: 90




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SOO~~ ~
Dated: ~           , 2023




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